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                            UNITED STATES DISTRICT COURT
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                 CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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 10                                      Case No. CV 20-04938-JVS (AS)
      DUWAYNE JACKSON,
 11
                                         ORDER ACCEPTING FINDINGS,
 12
                        Plaintiffs,
                                         CONCLUSIONS AND RECOMMENDATIONS
 13
            v.
                                         OF UNITED STATES MAGISTRATE JUDGE
 14
       JENNIS WHITE, et.al.,
 15

 16
                        Defendants.
 17

 18
            Pursuant to 28 U.S.C. section 636, the Court has reviewed the
 19
      Second Amended Complaint, all of the records herein, and the Report
 20
      and Recommendation of a United States Magistrate Judge, to which
 21
      no objections were filed. Accordingly, the Court concurs with and
 22
      accepts the findings and conclusions of the Magistrate Judge in
 23
      the Report and Recommendation.
 24

 25         IT IS ORDERED that Defendants’ Motion to Dismiss is GRANTED

 26   IN PART:
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  1         Plaintiff’s claims against all Defendants pursuant to the
  2   Fourteenth Amendment, Plaintiff’s claims against Defendants White,
  3
      Seliktar, Reginaldo, Fakunle and Hernandez, Plaintiff’s claims
  4
      against Defendants Contreras, Magdalena, Flores, and Melendez for
  5
      failing to protect Plaintiff before Plaintiff set the fire in his
  6
      cell, Plaintiff’s claims against all Defendants for conspiracy,
  7

  8   and Plaintiff’s claims against all Defendants pursuant to Cal. Civ.

  9   Code § 3294 are DISMISSED from this action, without leave to amend

 10   and with prejudice.
 11

 12
            Defendants’   motion   to    dismiss      is   DENIED    with   respect   to
 13
      Plaintiff’s    claims   pursuant    to    the    Eighth       Amendment   against
 14
      Defendants Contreras, Magdalena, Flores, and Melendez for failing
 15
      to protect Plaintiff from injury from the fire in his cell, and
 16

 17   Plaintiff’s claims against Defendants Contreras, Magdalena, Flores

 18   and Melendez pursuant to Cal. Civ. Code § 52.1.
 19
 20
            Defendants Contreras, Magdalena, Flores, and Melendez are
 21
      ordered to file an Answer to the remaining claims in the Second
 22
      Amended Complaint within thirty (30) days of the date of this
 23
      Order.
 24

 25   //

 26   //

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  1         IT IS FURTHER ORDERED that the Clerk serve copies of this
  2   Order on Plaintiff at his current address of record.
  3
      DATED: June 24, 2022
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  6                                             ______________________________
                                                       JAMES V. SELNA
  7                                             UNITED STATES DISTRICT JUDGE
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